Case 3:17-cv-00072-NKM-JCH Document 422 Filed 02/21/19 Page 1 of 5 Pageid#: 3895




                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA



   ELIZABETH SINES et al.                                :       Case No. 3:17-cv-00072

                  Plaintiffs                             :       Judge MOON


                                                         :
          -v-

   JASON KESSLER et al.                                  :

                                                         :
                  Defendants


          RESPONSE IN OPPOSITION TO PLAINTIFF TYLER MAGILL’S MOTION TO
              TO VOLUNTARILY DISMISS HIS CLAIMS WITHOUT PREJUDICE




          Under Rule 41 (a)(1), a plaintiff may voluntarily dismiss an action without a court

   order only by filing a notice of dismissal before an answer or a motion for summary judgment

   has been served by the opposing party, or by stipulation of dismissal signed by all parties who

   have appeared. Fed. R. Civ. P. 41(a)(1). In this case, defendants signing this pleading have

   filed answers and have not signed a stipulation of dismissal.

          When voluntary dismissal under Rule 41(a)(1) is not available, voluntary dismissal is

   still available to a plaintiff under Rule 41(a)(2), which provides that, "[e]xcept as provided in

   Rule 41(a)(1), an action may be dismissed at the plaintiffs request only by court order, on

   terms that the court considers proper." Fed. R. Civ. P. 41(a)(2). "The purpose of Rule 41(a)(2)

   is freely to allow voluntary dismissals unless the parties will be unfairly prejudiced." Davis v.

                                                   1
Case 3:17-cv-00072-NKM-JCH Document 422 Filed 02/21/19 Page 2 of 5 Pageid#: 3896




   USX Corp., 819 F.2d. 1270, 1273 (4th Cir. 1987). "Typically, such a motion is granted unless

   there is 'substantial prejudice' or 'plain legal prejudice' to the defendant." Teck Gen. P'ship v.

   Crown Cent. Petroleum Corp., 28 F. Supp. 2d 989,991 (E.D. Va. 1998). In considering a

   motion for voluntary dismissal, the Court "must focus primarily on protecting the interests of

   the defendant." Davis, 819F.2dat 1273.

               The Fourth Circuit has identified four general factors that should be considered in

    deciding a Rule 41(a)(2) motion:

   (1) the opposing party's effort and expense in preparing for trial; (2) excessive delay or lack of
   diligence on the part of the movant; (3) insufficient explanation of the need for a dismissal;
   and (4) the present stage of the litigation;

   Teck, 28 F. Supp. 2d at 991 (quoting Gross v. Spies, 133 F.3d 914,1998 WL 8006, at 5 (4th

   Cir.1998) (unpublished per curiam table decision). The Court may also consider any

   additional factors it finds relevant under the particular circumstances of the specific case.

   Teck, 28 F. Supp. 2d at 991 n.5 (citing Gross).

               Plaintiff Magill filed his amended complaint on January 5, 2018 1. Therein, Magill

   alleged that he “collapsed at his place of work and suffered a trauma-induced stroke…spent

   two days in the hospital and may never fully recover from the resulting brain injuries.. [and]

   has not been able to return to his job at the UVA library.” 2

               This being the case Magill, arguably, should have provided his medical records as part

   of his initial disclosures. Failing that, Magill was required to timely respond to discovery

   requests from the defendants he has sued. Instead, Magill has failed to provide medical

   records to support his fantastical claims despite it being eight months since being served with




   1
       DE 175.
   2
       Id. at p. 4 ¶ 10, see also p. 88 ¶ 283
                                                      2
Case 3:17-cv-00072-NKM-JCH Document 422 Filed 02/21/19 Page 3 of 5 Pageid#: 3897




   discovery and despite letters from Counsel in December 2018 and January 2019 demanding

   the records be produced. 3

             In light of the above, Magill ‘s assertion that he has “has diligently participated in this

   litigation, and thus, has not caused excessive delay or lack of diligence” 4 rings very false.

   Accordingly, Magill cannot argue that his deposition hasn’t been scheduled yet when the

   reason 5 it hasn’t been scheduled yet is that Magill has not adequately made even basic

   discovery responses.

             For the reasons set out above, Plaintiff Magill’s motion to voluntarily dismiss without

   prejudice must be denied until such time as he has fully complied with his obligations

   regarding pending discovery. In the alternative Magill’s motion may be granted on condition

   that he be prohibited from re-filing his claims in any jurisdiction, whether federal or state,

   until he has provided his full, complete, and unredacted medical records to the defendants

   herein.




                                                Respectfully Submitted,



                                                s/ Elmer Woodard_____________
                                                Elmer Woodard (VSB No. 27734)
                                                5661 US Hwy 29
                                                Blairs, VA 24527
                                                Phone: 434-878-3422
                                                Email : isuecrooks@comcast.net
                                                Attorney for Jason Kessler, Identity Evropa,
                                                Traditionalist Worker Party, Vanguard America, Matt
                                                Parrott, Nathan Damigo, Christopher Cantwell, Robert
                                                Ray


   3
     Letters from Mr. DiNucci to Plaintiff’s counsel attached.
   4
     Plaintiff Magill’s motion to voluntarily dismiss DE 406 at p.3
   5
     Declaration of John A. DiNucci
                                                           3
Case 3:17-cv-00072-NKM-JCH Document 422 Filed 02/21/19 Page 4 of 5 Pageid#: 3898




                                             s/ James E. Kolenich_PHV_
                                             James E. Kolenich (OH 77084)
                                             KOLENICH LAW OFFICE
                                             9435 Waterstone Blvd. #140
                                             Cincinnati, OH 45249
                                             Phone: 513-444-2150
                                             Fax: 513-444-2099
                                             Email: Jek318@gmail.com
                                             Attorney for Jason Kessler, Identity Evropa,
                                             Traditionalist Worker Party, Vanguard America, Matt
                                             Parrott, Nathan Damigo, Christopher Cantwell, Robert
                                             Ray

                                             s/ John DiNucci_________________
                                             John A. DiNucci (VSB 29270)
                                             Law Office of John A. DiNucci
                                             8180 Greensboro Drive, Suite 1150
                                             McLean VA 22102
                                             dinuccilaw@outlook.com
                                             Attorney for Richard Spencer




                                        CERTIFICATE OF SERVICE

          I certify the above was served on February 21, 2019 by the Court’s CM/ECF system
   and that the following non ECF participants were served by alternative means as listed below:

   Loyal White Knights of the Ku Klux Klan                      Moonbase Holdings, LLC
   a/k/a Loyal White Knights Church of                          c/o Andrew Anglin
   the Invisible Empire, Inc.                                   P.O. Box 208
   c/o Chris and Amanda Barker                                  Worthington, OH 43085
   2634 U.S. HWY 158 E
   Yanceyville, NC 27379                                        Andrew Anglin
                                                                P.O. Box 208
   Augustus Sol Invictus                                        Worthington, OH 43085
   9823 4th Avenue
   Orlando, FL 32824                                            East Coast Knights of the Ku Klux Klan
                                                                a/k/a East Coast Knights of the
   Fraternal Order of the Alt-Knights                           True Invisible Empire
   c/o Kyle Chapman                                             26 South Pine St.
   52 Lycett Circle                                             Red Lion, PA 17356
    Daly City, CA 94015



   Elliott Kline eli.f.mosley@gmail.com
   Matthew Heimbach matthew.w.heimbach@gmail.com
                                                     4
Case 3:17-cv-00072-NKM-JCH Document 422 Filed 02/21/19 Page 5 of 5 Pageid#: 3899




   Jeff Schoep commander@newsaxon.org
   James Stern jamesstern@thejamesstern.com

                                                  s/ James E. Kolenich PHV
                                                  James E. Kolenich




                                              5
